          Case 2:22-cr-00098-JMY Document 34 Filed 04/06/22 Page 1 of 3


                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :          CRIMINAL
                                               :
               v.                              :
                                               :          NO. 22cr98-11
BRIANNA REED                           :

                              CONDITIONS OF RELEASE ORDER

                                                   BAIL

Defendant is released on bail in the amount of: $25,000
           X      O/R
                cash
                 secured by:
                        % cash
                        property at:
                       Clerk’s office requirements are not waived. Execute an Agreement to Forfeit
the Property stated above with a copy of the deed as indicia of ownership.

                                      PRETRIAL SERVICES

   X Defendant shall report to Pretrial Services:
              X         as directed by Pretrial Services.
                      times per week in person.
                      times per week via telephone.

      Defendant shall attend mental health services under the guidance and supervision of Pretrial
      Services.
      Defendant shall submit to random drug testing as directed by Pretrial Services.
___ _ Defendant shall refrain from excessive use of alcohol or from any use of a narcotic drug or
      other controlled substance, as defined in Section 102 of the Controlled Substances Act, 21
      U.S.C. § 802, without a prescription by a licensed medical practitioner.
      Defendant shall undergo drug/alcohol treatment if necessary as determined by Pretrial
      Services.
      Defendant shall submit to electronic monitoring at the following address:


                This Court, based upon evidence that Defendant has adequate financial resources,
       finds that he/she shall pay all or part of the cost of the court-ordered monitoring program, in an
       amount to be specified by Pretrial Services.

              Curfew. You are restricted to your residence every day from_______ to ________ ,
       during which electronic monitoring will be in place, or as directed by the pretrial services
       office or supervising officer.

             Home Detention. You are restricted to your residence at all times except for
       employment; education; religious services; medical, substance abuse, or mental health
          Case 2:22-cr-00098-JMY Document 34 Filed 04/06/22 Page 2 of 3


       treatment; attorney visits; court appearances; court-ordered obligations; or other activities
       approved in advance by the pretrial services office or supervising officer;

              Home Incarceration. You are restricted to 24-hour-a-day lock-down at your
residence except for medical necessities and court appearances or other activities specifically
approved by the court.
                                            PASSPORT

           X     Defendant shall surrender and/or refrain from obtaining a passport.

                                             TRAVEL

          X Travel is restricted to the Eastern District of Pennsylvania.
            Travel is restricted to the ________________________________________.
          X Unless prior permission is granted by Pretrial Services.

                                            FIREARMS

           X     Defendant shall surrender and/or refrain from obtaining any firearms. Any other
               firearms in any premises where the defendant resides while on supervised release must
               be removed from the premises and no firearms are to be brought into the premises
               during this period. The defendant shall execute a completed Prohibition on Possession
               of Firearms Agreement.



                                       MISCELLANEOUS

          X   Defendant shall have no contact with co-defendants, potential witnesses in this case,
              or individuals engaged in any criminal activity.
              Defendant must maintain present employment.
              Defendant must actively seek gainful employment.
       ______ Defendant shall undergo a mental competency evaluation.
              Defendant must reside:
                      at:

                       with:



                                   COMPUTERS/INTERNET

                The Defendant is subject to the following computer/internet restrictions which are to
be monitored by U.S. Pretrial Services and may include manual inspection, use of minimally invasive
internet detection devices, and/or installation of computer monitoring software to ensure compliance
with the imposed restrictions.
             Case 2:22-cr-00098-JMY Document 34 Filed 04/06/22 Page 3 of 3


               No computer: The Defendant is prohibited from possession and/or use of any
computers and connected devices.

                 Computer, no internet access: The Defendant is permitted use of computers or
connected devices but is not permitted access to the Internet (as World Wide Web, FTP sites, IRC
servers, instant messaging).
                 Computer with internet access: The Defendant is permitted use of computers or
connected devices, is permitted access to the internet for legitimate purposes, and is responsible for
any fees connected with the installation and use of monitoring software.

                  Other Residents: By consent of other residents, all computers located at the address
of record shall be subject to inspection to ensure the equipment is password protected.

         OTHER CONDITIONS:

        As a further condition of release, defendant shall not commit a Federal, State, or local crime
during the period of release. The commission of a federal offense while on pretrial release will result
in an additional sentence of a term of imprisonment of not more than 10 years, if the offense is a
felony; or a term of imprisonment of not more than 1 year, if the offense is a misdemeanor. This
sentence shall be in addition to any other sentence.

       Any violation of the conditions of release may result in revocation of bail and imprisonment
pending trial.


         It is so ORDERED this 5th day of April, 2022.

                                        BY THE COURT:


                                        _/s/ Carol Sandra Moore Wells ___
                                        CAROL SANDRA MOORE WELLS
                                        UNITED STATES MAGISTRATE JUDGE



Last Revised: 9-20-16
